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AO 466A (Rev. 12/09) Waiver of Rule 5 & 5.1 Hearings (Complaint or Indictment)

UNITED STATES DISTRICT COURT

for the

District of Delaware

 

United States of America )
Vv. Case No. 20-mj-252
BARRY CROFT )
) Charging District’s Case No. 1:20-MJ-416
Defendant )

WAIVER OF RULE 5 & 5.1 HEARINGS
(Complaint or Indictment)

I understand that I have been charged in another district, the (name of other court) __Western District of Michigan

I have been informed of the charges and of my rights to:

(1)
(2)
(3)
(4)

(5)
(6)

retain counsel or request the assignment of counsel if ] am unable to retain counsel;

an identity hearing to determine whether I am the person named in the charges;

production of the warrant, a certified copy of the warrant, or a reliable electronic copy of either;

a preliminary hearing within 14 days of my first appearance if I am in custody and 21 oe otherwise —
unless I am indicted — to determine whether there is probable cause to believe that an offense has

been committed;

a hearing on any motion by the government for detention;

request transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.

I agree to waive my right(s) to:

qo

q
d
at

an identity hearing and production of the warrant.
a preliminary hearing.
a detention hearing.

an identity hearing, production of the warrant, and any preliminary =—giaili#-hearing to which I may
be entitled in this district. I request that those hearings be held in the prosecuting district, at a time set
by that court.

I consent to the issuance of an order requiring my appearance in the prosecuting district where the charges are
pending against me.

Date:

__ 10/08/2020 a i ( ervse | ow hehe AF of Gersy
j Catt

Defendant’s signature

LL

Nee Signature of defendant's attorney

  

Conor Wilson
Printed name of defendant's attorney
